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                 1   ALLEN PATATANYAN, SBN 210586                           THEANE EVANGELIS, SBN 243570
                       allen@westcoasttriallawyers.com                        tevangelis@gibsondunn.com
                 2   NEAMA RAHMANI, SBN 223819                              BLAINE H. EVANSON, SBN 254338
                        nr@westcoasttriallawyers.com                           bevanson@gibsondunn.com
                 3   RONALD L. ZAMBRANO, SBN 255613                         HEATHER L. RICHARDSON, SBN 246517
                        ron@westcoasttriallawyers.com                          hrichardson@gibsondunn.com
                 4   WEST COAST TRIAL LAWYERS, APLC                         BRANDON J. STOKER, SBN 277325
                     1147 South Hope Street                                    bstoker@gibsondunn.com
                 5   Los Angeles, CA 90015                                  SAMUEL ECKMAN, SBN 308923
                     Telephone: 213.927.3700                                   seckman@gibsondunn.com
                 6   Facsimile: 213.927.3701                                GIBSON, DUNN & CRUTCHER LLP
                                                                            333 South Grand Avenue
                 7   Attorneys for Plaintiffs                               Los Angeles, CA 90071-3197
                     JERICHO NICOLAS                                        Telephone: 213.229.7000
                 8   and others similarly situated                          Facsimile: 213.229.7520

                 9                                                          Attorneys for Defendant
                                                                            UBER TECHNOLOGIES, INC.
            10

            11                                        UNITED STATES DISTRICT COURT

            12                                   NORTHERN DISTRICT OF CALIFORNIA

            13

            14       JERICHO NICOLAS, individually and on                    CASE NO. 4:19-cv-08228-PJH
                     behalf of all others similarly situated,
            15                                                               JOINT STATUS REPORT
                                        Plaintiffs,
            16                                                               Judge: Hon. Phyllis J. Hamilton
                            v.
            17
                     UBER TECHNOLOGIES, INC.,
            18
                                        Defendant.
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            21              Plaintiffs Jericho Nicolas and others similarly situated, and Defendant Uber Technologies, Inc.,
            22       by and through their counsel of record, respectfully submit this Joint Status Report pursuant to the
            23       Court’s September 11, 2024, order.
            24              On July 17, 2020, the Court granted Defendant’s motion to compel arbitration with respect to
            25       the Labor Code § 2698 et seq. (PAGA) claims brought by 45 Plaintiffs and stayed those claims pending
            26       arbitration. On May 20, 2021, the Court granted Defendant’s motion to dismiss the remaining claims.
            27              On September 11, 2024, the Court ordered the parties to submit a joint status report regarding
            28       the status of the arbitrations within 30 days of the order (October 11, 2024).
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 Crutcher LLP


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                 1          Plaintiffs’ Position:

                 2          While all of the arbitrations have concluded, Plaintiffs are not prepared to dismiss the action

                 3   yet. Specifically, Steven Robert Callahan, Jorge Diaz, Yazmin Diaz, and Barton Lasheem are all drivers

                 4   represented by Plaintiffs’ counsel that UBER stated it does not have driver data for. Plaintiffs’ counsel

                 5   respectfully requests the status report be continued sixty (60) days to allow for Plaintiffs’ counsel to

                 6   investigate whether the above-mentioned drivers drove for Uber in the applicable period. Without such

                 7   data and opportunity to analyze and assess the same, Plaintiffs’ counsel cannot dismiss this action.

                 8          Defendant’s Position:

                 9          All of the arbitrations have been resolved, and the Court should dismiss the case. Plaintiffs do

            10       not dispute that 41 of the 45 Plaintiffs have released their claims or never drove using Uber and thus

            11       should be dismissed. They dispute only what should be done with the remaining four.

            12              As Plaintiffs note, Uber has no data suggesting that Steven Robert Callahan, Jorge Diaz,

            13       Yazmin Diaz, or Barton Lasheem ever drove using the Uber app. There is no account associated with

            14       Jorge Diaz at all. And although the other three have accounts, they reflect no miles driven. In other

            15       words, to the best of Uber's knowledge, none of the four Plaintiffs listed ever drove using the Uber app.

            16       Uber communicated this information to Plaintiffs after the Court compelled them to arbitration in July

            17       2020. Dkt. 36.

            18              These four Plaintiffs never filed any arbitration demands in the more than four years since this

            19       Court compelled them to arbitrate their claims.        And they have never come forward with any

            20       evidence—no declarations, 1099 tax forms, pay statements, transaction records, emails regarding

            21       completion of sign-up flow steps, screenshots of the driver app on their phone, or anything else—that

            22       they ever used the Uber app as a driver.

            23              Accordingly, when the Court ordered the parties to prepare a joint status report, Uber prepared

            24       a draft asking for dismissal. Plaintiffs initially responded by arguing that 15 Plaintiffs could not be

            25       dismissed. Uber reminded Plaintiffs that 10 of those they listed had already released their claims, and

            26       Plaintiffs’ counsel spoke with one of the other clients and confirmed that she never drove using the

            27       Uber app. Plaintiffs, however, maintain that the remaining four should not be dismissed yet. Uber

            28       asked Plaintiffs for their basis for keeping these claims in court after they failed to pursue their claims
Gibson, Dunn &
 Crutcher LLP                                                          2
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                 1   in arbitration or come forward with evidence after four years, but Plaintiffs have not provided any

                 2   explanation.

                 3          Uber therefore requests that the Court dismiss all remaining Plaintiffs but Steven Robert

                 4   Callahan, Jorge Diaz, Yazmin Diaz, and Barton Lasheem. As to those four, the Court should issue an

                 5   order directing them to initiate arbitration within 30 days or else face dismissal for failure to prosecute.

                 6   Courts regularly issue such orders and dismiss plaintiffs who do not initiate arbitrations within the

                 7   allotted time, 1 and the Ninth Circuit has affirmed this approach. 2

                 8   DATED: October 11, 2024                                Respectfully submitted,
                 9                                                          WEST COAST TRIAL LAWYERS, APLC
            10
                                                                            By: /s/ Ronald Zambrano
            11                                                                  Ronald L. Zambrano
            12                                                              Attorneys for Plaintiffs JERICHO NICOLAS and
                                                                            others similarly situated
            13

            14       DATED: October 11, 2024                                GIBSON, DUNN & CRUTCHER LLP
            15                                                              By: /s/ Theane Evangelis
                                                                                Theane Evangelis
            16
                                                                            Attorneys for Defendant UBER
            17                                                              TECHNOLOGIES, INC.
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                       See, e.g., Ayeni-Aarons v. Best Buy Credit Servs./CBNA, 2023 WL 4373700, at *1 (E.D. Cal. July 6,
                     2023); First World Ltd. v. MIBC Holdings Ltd., 2022 WL 16636956, at *2 (D. Nev. Nov. 2, 2022);
            26       Roberts v. v. Synergistic Int’l, LLC, 2010 WL 41853478, at *4 (E.D. Cal. Nov. 12, 2010); Vista
            27       Enterprises, Inc. v. Actus Corp., 2005 WL 8173295, at *2 (S.D. Cal. Nov. 7, 2005); Horton-Hodges v.
                     Charles Schwab & Co., 2000 WL 52276, at *3 (N.D. Cal. Jan. 18, 2000).
                     2
            28         See, e.g., Mikhak v. Univ. of Phoenix, Inc., 768 F. App’x 740, 740 (9th Cir. 2019); Morris v. Morgan
Gibson, Dunn &
                     Stanley & Co., 942 F.2d 648, 654 (9th Cir. 1991).
 Crutcher LLP                                                          3
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                 1             DECLARATION OF FILER PURSUANT TO CIVIL LOCAL RULE 5-1(i)

                 2          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

                 3   document has been obtained from each of the signatories.

                 4   DATED: October 11, 2024                       GIBSON, DUNN & CRUTCHER LLP.

                 5
                                                                   By: /s/ Theane Evangelis
                 6                                                     Theane Evangelis
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Gibson, Dunn &
 Crutcher LLP                                                          4
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